                                                                   Case 2:18-ap-01235-VZ            Doc 189 Filed 11/08/22 Entered 11/08/22 12:53:55          Desc
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                                                                   1   Andrew W. Caine (CA Bar No. 110345)
                                                                       Jeffrey P. Nolan (CA Bar No. 158923)
                                                                   2   PACHULSKI STANG ZIEHL & JONES LLP
                                                                   3   10100 Santa Monica Blvd., 13th Floor
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                                                                   4   Telephone: 310/277-6910
                                                                       Facsimile: 310/201-0760
                                                                   5   Email: acaine@pszjlaw.com
                                                                               jnolan@pszjlaw.com
                                                                   6

                                                                   7   Attorneys for Defendant, Shaman Bakshi
                                                                                                     UNITED STATES BANKRUPTCY COURT
                                                                   8
                                                                                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                   9
                                                                                                              LOS ANGELES DIVISION
                                                                  10

                                                                  11   In re:                                          Case No.: 2:18-BK-14672-VZ
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   SHAMAN BAKSHI,                                  Chapter 7
                                        LOS ANGELES, CALIFORNIA




                                                                  13                          Debtor.
                                           ATTORNEYS AT LAW




                                                                  14

                                                                  15   STEPHEN CHEIKES, an individual; and             Adv. No.: 2:18-ap-01235-VZ
                                                                       THE STORYTELLERS GROUP
                                                                  16   ENTERPRISES CO.,                                PLAINTIFF AND DEFENDANT’S
                                                                                                                       DESIGNATION OF EXCERPTS OF
                                                                       a Canadian corporation,                         RECORD FROM DEPOSITION OF
                                                                  17                           Plaintiffs,             ANTOINETTE HARDSTONE TAKEN ON
                                                                                     v.                                MAY 31, 2019
                                                                  18
                                                                       SHAMAN BAKSHI,                                  DATE:       November 15, 2022
                                                                  19                                     Defendant.    TIME:       10:00 a.m.
                                                                  20                                                   PLACE:      Courtroom 1368
                                                                                                                                   Roybal Federal Building
                                                                  21                                                               255 E. Temple St.
                                                                                                                                   Los Angeles, CA 90012
                                                                  22

                                                                  23            COMES NOW, Defendant, and designates the following excerpts of record from the
                                                                  24   deposition transcript of Antoinette Hardstone, taken on May 31, 2019 and referenced exhibits, as
                                                                  25   highlighted in blue, and Plaintiff as highlighted in yellow, which copy has been marked and lodged
                                                                  26   with the Court to be used at time of trial:
                                                                  27

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                                                                   1
                                                                                  United States Bankruptcy Court Adversary Case No. 2:18-ap-01235-VZ
                                                                   2
                                                                              Designated                                            Objections
                                                                                                      Designated By
                                                                   3          Testimony
                                                                   4      Page 7, lines 7-23            Defendant                  No objection

                                                                   5           Pages 7-8,                                          No objection
                                                                                                        Defendant
                                                                               lines 24-2
                                                                   6
                                                                          Page 9, lines 7-15            Defendant                  No objection
                                                                   7

                                                                   8         Pages 13-14,                                          No objection
                                                                                                        Defendant
                                                                               lines 1-8
                                                                   9                                                               No objection
                                                                          Page 14, lines 9-25           Defendant
                                                                  10
                                                                             Pages 15-18,                                          No objection
                                                                  11                                    Defendant
                                                                              lines 1-24
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12         Pages 18-19,                                          No objection
                                                                                                        Defendant
                                                                              lines 25-14
                                        LOS ANGELES, CALIFORNIA




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                                                                         Page 19, lines 15-24           Defendant                  No objection
                                                                  14
                                                                             Pages 20-22,                                          No objection
                                                                  15                                    Defendant
                                                                              lines 15-4
                                                                  16         Pages 22-24,                                          No objection
                                                                                                        Defendant
                                                                              lines 7-25
                                                                  17
                                                                          Page 25, lines 8-23           Defendant                  No objection
                                                                  18
                                                                             Pages 26-28,                                          No objection
                                                                  19                                    Defendant
                                                                               lines 6-7
                                                                  20         Pages 28-31,                                          No objection
                                                                                                        Defendant
                                                                              lines 18-25
                                                                  21
                                                                             Pages 32-34,                                          No objection
                                                                  22                                    Defendant
                                                                              lines 13-19
                                                                  23         Pages 34-36,                                          No objection
                                                                                                        Defendant
                                                                              lines 20-19
                                                                  24
                                                                             Pages 41-44,                                          No objection
                                                                                                        Defendant
                                                                  25          lines 2-14

                                                                  26         Pages 44-45,                                          No objection
                                                                                                        Defendant
                                                                              lines 15-15
                                                                  27
                                                                             Pages 45-46,                                          No objection
                                                                                                        Defendant
                                                                  28          lines 20-4

                                                                                                                      2
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                                                                   1          Designated                                                  Objections
                                                                                                      Designated By
                                                                   2          Testimony
                                                                             Pages 46-47,                                                No objection
                                                                   3                                    Defendant
                                                                               lines 5-7
                                                                   4     Page 47, lines 21-25           Defendant                        No objection
                                                                   5
                                                                             Pages 49-51,                                                No objection
                                                                                                        Defendant
                                                                   6          lines 8-4.
                                                                             Pages 51-53,                                                No objection
                                                                   7                                    Defendant
                                                                              lines 11-25
                                                                   8         Pages 54-55,                                                No objection
                                                                                                        Defendant
                                                                               lines 2-1
                                                                   9
                                                                         Page 58, lines 17-23           Defendant                        No objection
                                                                  10

                                                                  11         Pages 59-61,                                    Plaintiff objects - best evidence rule,
                                                                                                        Defendant
                                                                               lines 9-9                                                   speculation
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                          Page 62, lines 4-17           Defendant                        No objection
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                             Pages 62-65,                                Plaintiff objects – hearsay, speculation, lacks
                                                                  14                                    Defendant
                                                                              lines 22-8                                     foundation, incomplete hypothetical.
                                                                  15                                                                     No objection
                                                                         Page 69, lines 21-25           Defendant
                                                                  16
                                                                             Pages 72-76,                                Plaintiff objects – hearsay, speculation, lacks
                                                                                                        Defendant
                                                                  17           lines 3-6                                              foundation, irrelevant

                                                                  18         Pages 76-79,                                Plaintiff objects – hearsay, speculation, lacks
                                                                                                        Defendant
                                                                              lines 16-7                                              foundation, irrelevant
                                                                  19
                                                                          Page 81, lines 5-18           Defendant                 Plaintiff objects - irrelevant
                                                                  20

                                                                  21           COMES NOW, Plaintiff, and designates the following excerpts of record:

                                                                  22
                                                                              Designated                                                  Objections
                                                                                                      Designated By
                                                                  23          Testimony

                                                                  24         Pages 33-34,                                                No objection
                                                                                                         Plaintiff
                                                                              lines 25-12
                                                                  25                                                                     No Objection
                                                                        Page 69, lines 21-23             Plaintiff
                                                                  26

                                                                  27   Dated: November 8, 2019                        By:    /s/ Jeffrey P. Nolan
                                                                                                                       Andrew W. Caine (CA Bar No. 110345)
                                                                  28                                                   Jeffrey P. Nolan (CA Bar No. 158923)
                                                                                                                        3
                                                                       DOCS_LA:325210.3 07977/001
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                                                                   1                                                 PACHULSKI STANG ZIEHL & JONES LLP
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                                                                                                                            jnolan@pszjlaw.com
                                                                   5
                                                                                                                     Attorneys for Defendant, Shaman Bakshi
                                                                   6

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P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
10100 Santa Monica Blvd., 13th Floor, Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled (specify): PLAINTIFF AND DEFENDANT’S
DESIGNATION OF EXCERPTS OF RECORD FROM DEPOSITION OF ANTOINETTE HARDSTONE
TAKEN ON MAY 31, 2019 will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
November 7, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:


       Brad D Krasnoff (TR) BDKTrustee@DanningGill.com, bkrasnoff@ecf.axosfs.com;DanningGill@gmail.com
       Jeffrey P Nolan jnolan@pszjlaw.com
       Jon N Owens nathan.owens@ndlf.com, sue.peterson@ndlf.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov

                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) November 7, 2022, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Honorable Vincent Zurzolo
United States Bankruptcy Court
Central District of California
255 E. Temple Street
Suite 1360/Courtroom 1368
Los Angeles, CA 90012
                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 November 8, 2022                 Rolanda Mori                                                /s/ Rolanda Mori
 Date                         Printed Name                                                    Signature


          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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